           Case 2:13-cr-00267-TLN Document 97 Filed 06/22/16 Page 1 of 2


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    DOUGLAS BEEVERS, #288639
     Assistant Federal Defender
3    Designated Counsel for Service
     801 “I” Street, 3rd Floor
4    Sacramento, CA 95814
5    Attorney for Defendant
     FERLANDO CARTER
6

7

8                       IN THE UNITED STATES DISTRICT COURT

9                    FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,         ) 2:13-CR-00267-GEB
                                       )
12             Plaintiff,              ) STIPULATION AND [PROPOSED]RELEASE
                                       ) ORDER RELEASING DEFENDANT FROM THE
13        v.                           ) CUSTODY OF THE ATTORNEY GENERAL
                                       )
14   FERLANDO CARTER,                  )
                                       ) Judge:Hon. Garland E. Burrell,Jr.
15             Defendant.              )
                                       )
16                                     )
                                       )
17

18
         The parties having reviewed the request from Bureau of Prisons
19
     docket #94 agree that the defendant be released from the custody of
20
     the Attorney General on June 28, 2016 subject to all previously
21
     imposed conditions of pretrial release.
22
     Dated: June 16, 2016                   Respectfully submitted,
23
                                            HEATHER WILLIAMS
24                                          Federal Defender
25                                          /s/ Douglas J. Beevers
26                                          DOUGLAS J. BEEVERS
                                            Assistant Federal Defender
27                                          Attorney for Defendant
                                            FERLANDO CARTER
28

29

30                                          1
              Case 2:13-cr-00267-TLN Document 97 Filed 06/22/16 Page 2 of 2


1    DATED: June 16, 2016                      Phillip A. Talbert
                                               Acting United States Attorney
2

3                                              /s/ Douglas J. Beevers for
                                               JUSTIN LEE
4                                              Assistant U.S. Attorney
                                               Attorney for Plaintiff
5

6

7                                            ORDER

8        Based upon the stipulation of the parties and based upon the May

9    3, 2016 letter from Butner Complex Warden J.C. Holland, the Court

10   hereby ORDERS that the Court’s April 18, 2016 Order (Doc. 92) is

11   amended as follows: the defendant shall be released from the custody

12   of the Attorney General on June 28, 2016.          All other aspects of the

13   Court’s April 18, 2016 Order remain in force.

14   IT IS SO ORDERED.

15   Dated:    June 22, 2016

16

17

18

19

20

21

22

23

24

25

26
27

28

29

30                                             2
